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June 7, 2023

Noah M. Weissman
Partner
Direct: 212-541-2028
Fax: 212-541-1428
nmweissman@bclplaw.com




The Honorable Lorna G. Schofield
Thurgood Marshall United States Courthouse
United States District Court for the S.D.N.Y.
40 Foley Square
New York, NY 10007

Via ECF

                  Re:      Bur-Tex Hosiery, Inc. v. World Tech Toys, Inc., et al.,
                           Case No. 1:23-cv-03454-LGS

Dear Hon. Schofield:

Pursuant to Rule III.C.2 of your Individual Rules (“Rules”), Defendants Invo8 Marketing, LLC
(“Inov8”), Jack Safdeye, and David Linker request leave to file a motion to dismiss pursuant to
Fed. R. Civ. P. 12(b)(6). Defendant World Tech Toys, Inc. (“WTT”) also seeks leave to file a
near-identical motion for judgment on the pleadings. WTT previously filed an answer. (Dkt. 34).
Pursuant to Rule III.A.1, Defendants requests a pre-motion conference.

Defendants propose the following briefing schedule:1 motions to be filed within 21 days from the
date of the pre-motion conference, with opposition, if any, to be filed within 21 days of the
moving deadline, and reply papers, if any, to be filed within 15 days of the opposition deadline.

At the heart of Defendants’ motions is the release set forth in the Settlement Agreement and
Release attached as Exhibit H to the Complaint. The agreement bars Bur-Tex Hosiery, Inc.’s
(“Bur-Tex”) claims as a matter of law. Specifically, the release states:

         “The Parties . . . release and discharge the other Party, together with their past, present,
         and future officers, . . . members, . . . agents, employees, managers, representatives, . . .
         and all persons acting by, through, under, or in concert with them, and each of them . . .
         from all known and unknown . . . causes of action, suits, . . . expenses (including
         attorneys’ fee and costs actually incurred), and punitive damages, of any nature
         whatsoever, known or unknown, which either Party has or may have had, against the

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  In light of the unique procedural circumstances of the action, Defendants Inov8, Mr. Safdeye, and Mr. Linker
further request the Court’s guidance regarding the timing of the filing of their responsive pleadings. The Central
District of California transferred this case to this Court without setting any deadlines for the filing of their
responsive pleadings in this Court. Further, as Plaintiff has yet to appear in this action through New York counsel,
Defendants have been unable to seek an agreement on a filing deadlines.
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         other Party, whether or not apparent or yet to be discovered, or which may hereafter
         develop, for any acts or omissions related to or arising from (a) the order, purchase, and
         sale of the Products at issue, whether or not such Products were delivered, including
         without limitation the quality of the Products and the deposits referenced in Section 2 (the
         “Dispute”), (b) an (sic) agreement between the Parties, (c) any other matter between the
         Parties and/or (d) any claims under federal, state or local law, rule or regulation.”

(Dkt. 1, Ex. H, ¶ 3).

In addition, the Settlement Agreement and Release provides that:

        “The Parties intend this Agreement to be legally binding upon and shall inure to the
         benefit of each of them and their respective successors, assigns, executors,
         administrators, heirs and estates. Moreover, the persons and entities referred to in
         Section 3 above [i.e., in the Release], but not a Party, are third-party beneficiaries of
         this Agreement.” (Dkt. 1, Ex. H, ¶ 7) (emphasis added);
        “This Agreement constitutes the entire agreement and understanding of the Parties and
         supersedes all prior negotiations and/or agreements, proposed or otherwise, written or
         oral concerning the subject matter hereof.” (Dkt. 1, Ex. H, ¶ 8);
        “[T]his Agreement shall be, and remain, in effect despite any alleged breach of this
         Agreement or the discovery or existence of any new or additional fact, or any fact
         different from that which either Party now knows or believes to be true.” (Dkt. 1, Ex. H,
         ¶ 9);
        “In entering into this Agreement, the Parties acknowledge that they have relied upon the
         legal advice of their respective attorneys, who are attorneys of their own choosing, that
         such terms are fully understood and voluntarily accepted by them, and that, other than the
         consideration set forth herein, no promises or representations of any kind have been made
         to them by the other Party. The Parties represent and acknowledge that in executing this
         Agreement they did not rely, and have not relied, upon any representation or statement,
         whether oral or written, made by the other Party of by that other Party’s agents,
         representatives, or attorneys with regard to the subject matter, basis or effect of this
         Agreement or otherwise.” (Dkt. 1, Ex. H, ¶12); and,
        “By signing below, each Party warrants and represents that the persons signing the
         Agreement on its behalf has authority to bind that Party . . . .” (Dkt. 1, Ex. H, ¶14).

Bur-Tex’s claims fall squarely within the release. First, the agreement defines the term
“Products” as products Bur-Tex purchased and has committed to continue to purchase from
Invo8. Second, Bur-Tex admits that, prior to executing the Settlement Agreement and Release, it
discovered that the WTT gloves it purchased from Invo8 were not 100% nitrile, as allegedly
promised by Mr. Linker and Mr. Safdeye and that, as a result, Bur-Tex’s customer rejected all of
the WTT gloves causing a substantial financial loss. (Dkt. 1, ¶¶ 37-46 (discussing extent of order
and belief gloves were 100% nitrile), ¶¶ 48-49 (notice from customer in February 2021 that
gloves were not 100%), ¶¶ 53-55, 57 (cancellation of orders and demand for multi-million refund
in February 2021), ¶¶ 58-59 (admitting that Bur-Tex was sent the Settlement Agreement and
Release, which it executed, in March 2021)). Thus, based on the allegations, Bur-Tex was fully
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aware of the claims it may have had against Defendants prior to executing the Settlement
Agreement and Release. Not only do the claims fall squarely within the release, but each of the
Defendants are released by the agreement. Invo8, as a party to the agreement, was expressly
released by Bur-Tex from any and all claims in this case—all of which relate to Bur-Tex’s
purchase and Inov8’s sale of WTT’s examination gloves. Mr. Safdeye, by virtue of his position
as Invo8’s officer, manager, and sole member, also was expressly released. As for Mr. Linker
and WTT, Bur-Tex admits that each were agents of Invo8. (Dkt. 1, ¶ 7). Additionally, both Mr.
Linker and WTT are alleged to have “act[ed] by, through, under, or in concert with” Inov8 in
selling and delivering the gloves to Bur-Tex. (Dkt. 1, ¶¶ 7, 32-43, 52-53, 232). Accordingly,
Defendants were released by Bur-Tex as to each and every claim alleged.

In response to Defendants’ motions, Bur-Tex will likely contend that the Settlement Agreement
and Release is unenforceable, contending it (1) lacks consideration, (2) was entered into under
duress, and (3) is void because Inov8 and Mr. Safdeye purportedly knew that Brent Burgess
lacked the authority to sign it. These conclusory allegations are contrary to the clear and
unambiguous language of the Settlement Agreement and Release. See L-7 Designs, Inc. v. Old
Navy, LLC, 647 F.3d 419, 422 (2d Cir. 2011) (courts do not accept as true allegations in a
complaint where, as here, the documents attached to the complaint contradict such allegations)
(citing Blue Tree Hotels Inv. (Canada) Ltd. v. Starwood Hotels & Resorts Worldwide, 369 F.3d
212, 222 (2d Cir. 2004) (same)). Furthermore, these arguments were previously rejected by the
Order of Hon. Slaughter in the Central District of California. See Dkt. 63, at 4-8.

As Judge Slaughter recognized, the Settlement Agreement and Release explicitly sets forth and
acknowledges the good and valuable consideration exchanged. Id. at 4 (“First, the Settlement
Agreement is not wanting for consideration.”). Under the Settlement Agreement and Release,
Bur-Tex was relieved of the obligation to (1) purchase additional “Product” through Inov8, (2)
make additional payments for “Products” already purchased, and (3) take delivery of and to pay
for Product already ordered. (Dkt. 1, Ex. H, ¶1.). The Settlement Agreement and Release also
declares that Bur-Tex did not rely on any representations by Inov8, Mr. Safdeye or anyone else
in entering into the settlement. Id. (“Second, Bur-Tex’s argument the Settlement Agreement in
its entirety was procured by fraud is unpersuasive.”). Lastly, Brent Burgess signed the Settlement
Agreement and identified himself as Bur-Tex’s “CEO” and represented and warranted that he
had authority to bind Bur-Tex. Id. at 6-7 (“Third, the materials before the court do not indicate
Bur-Tex’s signatory to the Settlement Agreement, Mr. Brent Burgess, lacked authority to do so
and that this was a fact known to Defendants.”). In sum, Bur-Tex, through its CEO Brent
Burgess, entered into a demonstrably valid settlement with a broad release that covered the very
product at issue in this case and each of the Defendants who were expressly recognized as third-
party beneficiaries. As a result, Defendants are entitled to judgment in their favor as a matter of
law. Thank you for the Court’s attention to this matter.


Respectfully submitted,
/s/ Noah M. Weissman
Noah M. Weissman
Partner
